 

COUNTY OF SAN BERNARDINO

SAN BERNARDINO, CALIFORNIA

3201536012685

STATE FILE YLUMSEA LOCAL REGISTAATION MUMBEA
1. NAME CF DEGEDENT- FIRST iGivenj 2. MIDDLE

3. LAST (Famuy)
NATHANAEL HARRIS PICKETT Ii

AXA, ALEO KNOWN AS + tashuite fut AKA (FIPST, MIDOLE, LAST) 4, GATE OF BIRTH smyddfooyy |. AGE Yn. [gh one Vesa uni ga aS .
NATE 07/03/1986 290; Mee Bae] eee sees | hy

' i

4. BIT STATEIFOREIGN GOUNTAY 30, SOCIAL GEGURITY NUMBER] 11, EVER IULS, aie i 12, MARTIN, STATUS/SADP’ it raw! Outi] 7. OATE OF DEATH mmvaaionyy | HOUR Tal Hm)
CA §15-34-0821 (_]vs [X]» [Jes NEVER MARRIED | 14/19/2015 2127

ee _ Chita Lerten 45. WAG DECEOENT HIGPANIC/LATINGIAVSPANISH? (Wt pad, So workaheol on back 18. ORCECENTE RAGE - Un fo 4 races otay be kaled (nae workshebt on batik]

HS GRADUATE |[ |= 10 | BLACK

+7. USUAL GOGLUPFATION ~ Type of work fot most al lite, OO NOT USE AETIAED Wa. KIND OF BUSINESS OF INDUSTRY, (he. grocery atte), road conalruction, amploymant agency. etc) 34. YEAAS IN GCCUPATION
STOCKER |GROCERY.-. 2

#0. DECEDENT'S RESIDENCE (Sires 80d tuber, or location) moe . .

142 E. MAIN ST

at. ci 22, COUNTY/PROYINGE “| 2B 2iP or : 24, YEARS IN COUNTY | 25. STATE/FOREIGN COUNTAY

BARSTOW SAN BERNARDINO 9234 | 0 CA

26. INFORMART'S MAM, RELATIONSHIP a7, wroRuatrs AIUING ADORE! rast mad minthey, of rata? route number, Slty or tawrs, state and rip}

DOMINIC ARCHIBALD, MOTHER oe [1984 NWN TF AB MAMA PC SST6S

4, NAME GF SURVIVING SFOUBE/SADF “FAST © 20, MIDDLE 25, LAST (BIRTH NAME)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

31, NAME OF FATHER/PARENT-1n ST 22, MICDLE * . : | 39, LAST . 34, BATH STATE
NATHANAEL HARRIS PICKETT . FR

35. NAME OF MOTHERAARENT -FIRDT ag MiboLE ” 07; LAST IRTH NAME) 96, RIRTH STATE
DOMINIC DENISE ARCHIBALD AL

38 DSFORTION DATE mavadioary  F a0, PLAGE OF FINAL DEPOSITION RES DOMINIC ARCHIBALD
12/15/2015 4984 NW 2ND ST, #153, MIAMI, FL 33469.

41, TYPE OF CHS OSTEON IS) ; WATUAE OF EMGALMER! rae 43, LICENSE NUMBER

CRITRIRES 2 ‘NOTEMBALMED § 7 -
44. NAME OF PUNEAAL ES TABLE IMM | 45, UCENSE NUMBER | 48, SQMATUAE OF LOGAL REGISTRAR . 5@ 47.DATER minddfcoyy

ENT BO
SOCAL CREMATIONS 07 FD 2100 |» MAXWELL GHIKHUARE, MD 12/18/2045

FO1, PLACE OF DeATt 1 102, |F HOGPITAL, SPECIeY GHE 103. |F OTHER THAN aa SPECIFY ONE

i , i g
BREEZEWAY OF MOTEL st Le [Jere [ pool Henin: [TPR [Be EC one
104. COUNTY 465. FACILITY ADDRESS OR Location WHERE FOWND (Street anc aumber, on intavtgn}, . 100. O¢TY

SAN BERNARDINO [112 £, MAIN ST. ws BARSTOW

HT. GALISE OF REATH Entar iho ane vat ota “= ShGate, npidos, oF CoompAcItOnE -- raraascey cougid death DO NOT eater tanmdsal evands such ‘Fame tensa! Deraaen | $04. DEATH REPORTED TC CORONER?
ny ATOR, OF veri Uar Gbeikalk without showing tho ology. OG NOT ABRAEVIATE Onset aad Dena
Je 5c] ves nO

IMMEDIATE CAUSE I GUNSHOT WOUNDS TO GHEST perc ae am ascannns sovare
ene erating wi en - :MINS 761508736

in death, 7 ‘ ” ,
a n 2 Pay 108, BIOPSY PERFORMED?

Sauer ll : : ‘ : : [vs Fr
gandliana, Ham, . _. .

lading ' dsune ss 7 7 5
on Line A ents (GE {cn 110, AUTOPSY PERFORMED?
cause eee or . aa Loe bicad [) No

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

rele he avanta Oh oo on 141, UMED Bs ORTERARINENS CAUSE?
ranting fn death) LAAT . . YES rj no

NONE SIGNIFICANT CONDITIONS GONTRIBUTING TO DEATH aUT NOT RESULTING IN THE UNOGRLVING GAUSE GIVEN IN 107

 

 

 

 

 

oO OPERATION PERFORME 3 FOR ANY CONDITION IN ITEAL 107 OR 1127 Ot yes, Ini type of coaraton and date) 1A, IF FEMALE, PREGNANT Inv LAST YERFr?|
[Jv F Jno £ June

 

1H i CERTIPY TAT TO THE BEST OF My KNOWLEGGE GEATHOCCURRED | 11g, SIGNATURE AND TITLE OF GERTIIEA 110, LICENSE NUMBER [117 DATE smen/divecyy
(AU THE HOUA, BATE, ANO PLACE BTATEN FAQI® THE GAUGES STATED.

Dacedent Attended Since ocedant Lat Soon Alive
A) amiddiceyy  menvddicopy TTS: TYBE ATTENDING PHYSICIAN'S NAME, MAILING ADDRESS, 21? CODE

 

 

 

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: :
419.1 CERTIFY FAT (H S4¥-OPIHIOM DEATH OCCURRED AT THE HOUR, DATE, AND PLAGE STATED FACM THE GAUBES STATED. 120, INJURED AT WORK? 121, INJURY DATE mnvddiogg| 122. HOUR {24 Hours
swnwesscrcen |] sstew [_] actte[X] pemaon [| asain [| edn, [] gua X}no [Jum |14/19/2015 —|2107

129, PLACE OF IHJLAY (&.g.. home, construction gite, wooded afaa, alg.)

BREEZEWAY OF MOTEL

 

 

 

 

 

 

 

124. DESCAIBE HOW INJURY OCCURRED

‘were which casuttad in in}
SHOT BY DEPUTY DURING PHYSICAL ALTERCATION,
125, LOCATION GF INJUAY (Siaet wid number, ar location, and city, and zip} "Le

ARSTOW, CA 92341 :
126, SIGNATURE OF CORONER / DGAUTY CORONER 127, DATE mmddfocyy 428, TYPE WAME, TITLE OF CORONER / GEPUTY CORONER:

yJOSHUA M KAKUSKA @@ [1211172015 JOSHUA M KAKUSKA, DEPUTY CORONER
ie . ; AA PAR AIT jens al

REGISTAAR
ceric copy or vane AU

STATE OF CALIFORNIA, COUNTY OF SAN BERNARDINO
. . 602734562

 

CASANBEROG

 

 

 

 

 

 

 

 

 

 

 

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ASSESSOR MeCOTTOR R-CLERK

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